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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 DEANN WHITE,
                                                           Civil Action No. 20-1303(MCA)
                       Plaintiff,
                                                                        ORDER
 v.
 PHOENIX FINANCIAL SERVICES,
                       Defendants.


       THIS MATTER comes before the Court by way of Order to show cause issued by the

Court, ECF No. 15;

       and it appearing that Judge Wettre issued a Report and Recommendation dated August 19,

2020, in which Judge Wettre recommended that this Court dismiss the action without prejudice

since the defendant has failed to appear for a notice of Rule 16 conference, ECF No. 13 and also

failed to show cause on August 17, 2020 why her case should not be dismissed; and

       it appearing that neither Defendant nor Plaintiff have filed any objections to the Report and

Recommendation; and

       it appearing that for the reasons set forth in Judge Wettre’s Report and Recommendation;

       IT IS on this 6th day of November, 2020,

       ORDERED that Judge Wettre’s Report and Recommendation dated August 19, 2020, is

ADOPTED and this case shall be dismissed without prejudice.

                                                     s/ Madeline Cox Arleo__________
                                                     Hon. Madeline Cox Arleo
                                                     United States District Judge
